              Case 3:22-cv-00095-WHO Document 62 Filed 09/08/22 Page 1 of 3




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     P.C.
14
                                     UNITED STATES DISTRICT COURT
15                                 NORTHERN DISTRICT OF CALIFORNIA
                                        SAN FRANCISCO DIVISION
16
      ARNOLD NAVARRO, on behalf of himself and
17    others similarly situated
                                                              CASE NO. 3:22-CV-00095-WHO
18                  Plaintiff,
19    v.                                                      SUBSTITUTION OF ATTORNEY AND
                                                              NOTICE OF APPEARANCE
20    SMILEDIRECTCLUB, INC.;
      SMILEDIRECTCLUB, LLC;
21    JEFFREY SULITZER; DOES 1–10
22                   Defendants.
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                            SUBSTITUTION OF ATTORNEY AND NOTICE OF APPEARANCE
                                          Case No. 3:22-cv-00095-WHO
              Case 3:22-cv-00095-WHO Document 62 Filed 09/08/22 Page 2 of 3




 1   TO THE CLERK OF THE ABOVE-ENTITLED COURT AND ALL INTERESTED PARTIES:
 2          PLEASE TAKE NOTICE that Erin N. Baldwin of Benesch, Friedlander, Coplan & Aronoff LLP
 3   (“Benesch”), 41 South High Street, Suite 2600, Columbus, Ohio hereby withdraws as counsel for
 4   Defendants SmileDirectClub, Inc., SmileDirectClub, LLC, Dr. Jeffrey Sulitzer, and Sulitzer P.C.
 5   (“Defendants”) in the above-captioned matter. Attorney Sydney E. Allen of Benesch, Friedlander, Coplan
 6   & Aronoff LLP, 100 Pine Street, Suite 3100, San Francisco, California 94111, hereby appears as attorney
 7   of record on behalf of Defendants in this action. I am a member in good standing of the bar of the Supreme
 8   Court of the State of California and am admitted to practice before this Court.
 9          Defendants request that all notices, including all electronic notices, give or required to be given,
10   and all papers filed or served, or required to be served in the above captioned matter be provided to and
11   served upon counsel for the Defendants at the address set forth below:
12          Sydney E. Allen
            Benesch, Friedlander, Coplan & Aronoff LLP
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17

18    Dated: September 7, 2022                  Respectfully submitted,
19
                                                /s/ Sydney E. Allen
20

21                                              Krista Enns (SBN: 206430)
                                                Sydney E. Allen (SBN: 315407)
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                                         Case No. 3:22-cv-00095-WHO
     Case 3:22-cv-00095-WHO Document 62 Filed 09/08/22 Page 3 of 3




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 3                             Attorney for Defendants SmileDirectClub, Inc.;
                               SmileDirectClub, LLC; Dr. Jeffrey Sulitzer; and
 4                             Sulitzer, P.C.
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                             Case No. 3:22-cv-00095-WHO
